               Case 24-21209-LMI        Doc 151      Filed 12/20/24     Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flmb.uscourts.gov

In re:                                                        Case No. 24-21209-LMI
                                                              (Jointly Administered)
SHIFTPIXY, INC., et al.1
                                                              Chapter 11
               Debtor.
                               /

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the following:

  AGREED ORDER GRANTING CREDITOR, TACOS 2000, INC.’S MOTION FOR
ORDER AUTHORIZING AND DIRECTING TO FILE CORRECTED WAGE AND TAX
        STATEMENTS (FORM W-2C) [DE 150], dated December 20, 2024

was served on December 20, 2024 upon all interested parties registered to receive notice via this

Court’s CM/ECF electronic notification system.

         Date: December 20, 2024                      Respectfully submitted,
                                                      SEQUOR LAW
                                                      1111 Brickell Avenue, Suite 1250
                                                      Miami, FL 33131
                                                      lflorin@sequorlaw.com
                                                      Telephone:     (305) 372-8282
                                                      Facsimile:     (305) 372-8202

                                                      By:     /s/ Leyza B. Florin
                                                              Leyza B. Florin
                                                              Florida Bar No.: 104639

24-21209-LMI Notice will be electronically mailed to:

Eyal Berger, Esq. on behalf of Creditor Sunz Insurance Solutions, LLC
eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Samuel J Capuano on behalf of Creditor Robert Angueira
scapuano@bergersingerman.com,
FSellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.courtdrive.com

1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
Management, Inc. The address of the Debtors is 4101 NW 25th Street, Miami, FL 33142.
              Case 24-21209-LMI        Doc 151     Filed 12/20/24     Page 2 of 3




Leyza Barbara Florin on behalf of Creditor Century Tacos, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Golden Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Los Angeles West Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Pacific Coast Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Tacos 2000, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Daniel Gielchinsky on behalf of Debtor ShiftPixy, Inc.
dan@dgimlaw.com,
colleen@dgimlaw.com;dan_1836@ecf.courtdrive.com;eservice@dgimlaw.com

Dan L Gold on behalf of U.S. Trustee Office of the US Trustee
Dan.L.Gold@usdoj.gov

Samuel W Hess on behalf of Creditor Manny Rivera
shess@slp.law, dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Samuel W Hess on behalf of Creditor Mark Absher
shess@slp.law, dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Samuel W Hess on behalf of Creditor Scott Absher
shess@slp.law, dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Erin M Hoskins on behalf of Creditor Robert Angueira
ehoskins@bergersingerman.com, efile@bergersingerman.com;efile@ecf.courtdrive.com

Isaac M Marcushamer, Esq. on behalf of Debtor ReThink Human Capital Management, Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Debtor ShiftPixy Staffing, Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Debtor ShiftPixy, Inc.
              Case 24-21209-LMI       Doc 151    Filed 12/20/24    Page 3 of 3




isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Interested Party ReThink Human Capital Management,
Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Isaac M Marcushamer, Esq. on behalf of Interested Party ShiftPixy Staffing, Inc
isaac@dgimlaw.com,
colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@d
gimlaw.com

Charles J McHale on behalf of Creditor Balanced Management, LLC
cmchale@mgl.law

Office of the US Trustee
USTPRegion21.MM.ECF@usdoj.gov

Michael S Provenzale on behalf of Creditor Foundry ASVRF Sawgrass, LLC
michael.provenzale@lowndes-law.com, anne.fisher@lowndes-law.com;litcontrol@lowndes-
law.com

Bradley S Shraiberg on behalf of Creditor Manny Rivera
bss@slp.law, dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg on behalf of Creditor Mark Absher
bss@slp.law, dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg on behalf of Creditor Scott Absher
bss@slp.law, dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Paul Steven Singerman, Esq on behalf of Creditor Robert Angueira
singerman@bergersingerman.com, efile@bergersingerman.com;efile@ecf.courtdrive.com

Raychelle A Tasher on behalf of Creditor United States of America Internal Revenue Service
Raychelle.Tasher@usdoj.gov, bridgett.moore@usdoj.gov;Shannon.Patterson@usdoj.gov
